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                              UNITED STATES COURT OF APPEALS
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT


NO. 23-7033




HENRY SEARCY, JR.



                Appellant

        V.                                     CIVIL ACTION N0.1:19-cv-00921-RBW              ::i    c
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DEMAURICE F. SMITH, et al,                                                                          C*    .     "Xl
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                                                                                       O            (Dj r-r-„

                                                                                              o
                                                                                              o
               Appellees




                                APPELLANT’S BRIEF

       Appellant, Henry Searcy, Jr., hereby submits a brief per the May 12,2023, ORDER of

this court related to the Appellant’s appeal of Civil Action No. l:19-cv-00921-RBW February

24, 2023, ruling.
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                          CERTIFICATE OF SERVICE


I hereby certify that on June 20, 2023, a true and correct copy of the foregoing was
served via first-class mail to the following:


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Dated: June 20, 2023                                  Respectfully submitted.




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                              APPEALLANT’S BRIEF


The February 24, 2023, ruling by Judge Reggie B. Walton should be reversed

because said ruling: (a.) did not consider the Appellant’s Complaint and all

subsequent filings as required by the court for a pro se plaintiff; (b.) violates

the Federal Rule of Evidence 801(d)(2)(c.); (c.) disregards the U.S. Court of

Appeal for the District of Columbia Circuit March 5, 2021, ruling; and (d.) did not

apply the right rule of consideration for a breach of contract related to a diversity

jurisdiction case.

       Judge Walton’s ruling did not consider the Appellant’s Complaint and all

subsequent filings including filings responsive to a motion to dismiss.

(a.)   A court considering a motion to dismiss for failure to state a claim

   regarding a pro se plaintiffs complaint should look to all filings, including

   filings responsive to a motion to dismiss. Brown, 789 F.3d at 151—52.


Judge Walton’s May 6, 2020, ruling identifies the case law Carty v. CVS

Pharmacy, LLC, 264 F.Supp.3d 190 (2017). In Carty v. CVS Pharmacy, EEC,

264 F.Supp.Sd 190 (2017), Ms. Carty was a pro se plaintiff when the United States

District Court, District of Columbia (Court) evaluated her pleadings in toto,

considering all her allegations, including those filed in opposition to Defendants’

Motion to Dismiss. See Brown v. Whole Foods Market Grp., Inc., 789 F.3d 146,
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 151—52 (D.C. Cir. 2015). Richardson v. United States, 193 F.3d 545, 548 (D.C.

Cir. 1999). In the case Carty v. CVS Pharmacy, LLC, 264 F.Supp.3d 190 (2017),

Ms. Carty’s Complaint formally asserted a claim of negligence; however, her

subsequent filings seem to complain of more systematic, intentional acts intended

to cause Ms. Carty distress. Accordingly, upon the Court’s review of Ms.

Carty’s Complaint and her subsequent filings in opposition to a motion to

dismiss, the Court considered Ms. Carty’s allegations broadly as an assertion of a

claim for intentional infliction of emotional distress. While pro se pleadings are

“held to less stringent standards than formal pleadings drafted by lawyers,”

According to Erickson v. Pardus, 551 U.S. 89, 94, 127 S.Ct. 2197, 167 L.Ed.2d

 1081 (2007) they too “must plead ‘factual matter’ that permits the court to infer

“more than the mere possibility of misconduct,” Atherton v. D.C. Office of the

Mayor, 567 F.3d 672, 681-82 (D.C. Cir. 2009). Ms. Carty’s Complaint was

dismissed because she did not plead any facts to support her claims therefore her

case was dismissed. See Crowder v. Bierman, Geesing, and Ward, LLC, 713

F.Supp.2d 6, 8-10 (D.D.C. 2010).

       On the other hand, the Appellant’s May 2019 Complaint stated a claim that

stated that the actions of the NFLPA and DeMaurice Smith were in violation of the

Federal Arbitration Act (FAA). However, the Appellant’s subsequent filings in

opposition related to the FAA claim provided an argument stating that the
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Defendants-Appellees were in violation of the DC Arbitration Act instead of

the FAA (EXHIBIT 36 page 36). Insomuch the Appellant was a pro se plaintiff,

Judge Walton was required to consider “all filings, including filings responsive to

the NFLPA and DeMaurice Smith’s attorneys “motions to dismiss.” Brown, 789

F.3d at 151-52. The Appellant’s subsequent filings pleaded factual matters that

permitted Judge Walton to infer that the NFLPA and DeMaurice Smith’s acts were

more than the mere possibility of misconduct. The Appellant’s subsequent filing

pleaded that the NFLPA breached the contract between the Appellant and the

NFLPA when the NFLPA provided the Appellant an appeal hearing according to

“the” Voluntary Labor Arbitration Rules of the American Arbitration Association

(AAA), an appeal process that does not exist according to the AAA (EXHIBIT 2

pages 3-5). The Appellant’s subsequent filings related to DeMaurice Smith

(EXHIBIT DS), identified the fact that DeMaurice Smith amended the NFLPA

Regulations to change the scoring methodology on the NFLPA Contract Advisor

Exam without the NFL Player Representatives approval. The Appellant’s

Complaint and the Appellant’s subsequent filings also identified harm (i.e. loss

profits, depression) as a result of the aforementioned actions of the NFLPA and

DeMaurice Smith. To that end. Judge Walton’s ruling (EXHIBIT A3) did not

consider the Appellant’s pro se plaintiff subsequent filings in opposition to the
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Defendant-Appellees’ Motion to Dismiss. See Brown v. Whole Foods Market Grp.,

Inc., 789 F.3d 146, 151-52 (D.C. Cir. 2015).




(b.)   Judge Walton’s ruling violates the Federal Rule of Evidence

       801(d)(2)(c.).

       The June 4, 2021, response to the Appellant’s Motion For Summary

   Judgement by the attorneys of the NFLPA and DeMaurice Smith stated,

   “....Searcy’s one-page summary judgement motion contends that “in view of

   the Agent Regulations holding in the instance that a new applicant fails the

   written examination on two successive occasions.. .there is no genuine dispute

   as to any material fact that the NFLPA breached the contract between

   Searcy and the NFLPA as stated in Searcy’s Show Cause Motion submitted

   to the D.C. Circuit on January 21,2021. The motion does not mention

   Smith....” (EXHIBIT 1 pg. 3).

   Accordingly, the Federal Rules of Evidence 801(d)(2)(c) treats as a nonhearsay

   an admission a statement made by a person whom the party authorized to make

   a statement on the subject. Saint-Jean v. District of Columbia, Fed. Supp.

   (2014). Judge Walton’s February 24, 2023, ruling does not consider the Federal

   Rules of Evidence 801(d)(2)(c) statement submitted by the NFLPA and
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   DeMaurice Smith’s attorney in response to the Appellant’s Show Cause Motion

   related to the Appellant’s 2020 appeal (20-7048) with this court (Exhibit page

   3).
(c.) Judge Walton’s ruling disregarded the March 5,2021, United States Court of Appeals

   for the District of Columbia Circuit ruling.

         The Appellant’s March 5, 2021 (EXHIBIT 2 page 1-2), United States Court

   of Appeals for the District of Columbia Circuit ruling ORDERED           . ..that the

   motion for summary affirmance be denied and, on the court’s own motion, this

   case be remanded to the district court for reconsideration of its dismissal of the

   claims against the NFLPA and Smith for failure to state a claim under Federal

   Rule of Civil Procedure 12(b)(6)....” (EXHIBIT 2 page 1-2).

         Accordingly, the NFLPA and DeMaurice Smith’s DC law claims must be

   considered according to 28 U.S.C. section 1367. The 28 U.S.C. § 1367 says

   that once the District court has complete diversity jurisdiction over

   claims between a Plaintiff (SEARCY) and Defendant (NFLPA) the District can

   exercise supplemental jurisdiction over claims a part of the same “case or

   controversy” as part of the same case, claims brought by Nondiverse Parties

   (DEMAURICE SMITH lives in Bethesda, Maryland (Exhibit Smith). The

   case Lorazenam & Clorazepate Antitrust Litigation.. 631 F. 3d 537. 541 fP.C.

   Cir. 2011) sites Strawbridge v. Curtiss. 7 U.S. 267. 2, Led 435 (1806) which
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   states that diversity jurisdiction does not exist unless each Defendant (NFLPA)

   is a citizen of a different state from each Plaintiff (SEARCY MARYLAND).

   The Strawbridge v. Curtiss, 7 U.S. 267, 2, Led 435 (1806) case also states that

   "diversity jurisdiction does not exist unless each Defendant (NFLPA-

   Washington DC) is a citizen of a different state from each Plaintiff (SEARCY -

   Maryland).". The case Lorazepam & Clorazepate Antitrust Litigation..631 F.

   3d 537. 541 (D.C. Cir. 2011) also sites Exxon Mobil Corp. v. Allapattah

   Services. Inc.. 545 U.S. 546. 125 S. Ct. 2611. 162 L. Ed 502 (2005) which

   states that once the District court has complete diversity jurisdiction over claims

   between a Plaintiff (SEARCY) and Defendant (NFLPA), the District can

   exercise supplemental jurisdiction over claims a part of the same “case or

   controversy” as part of the same case, claims brought by Nondiverse Parties

   (DEMAURICE SMITH) as the claims of Plaintiffs (NFLPA) who met all of the

   requirements of 28 U.S.C. § 1332(a). Lastly, the case Lorazepam &

   Clorazepate Antitrust Litigation..631 F. 3d 537. 541 (D.C. Cir.

   2011) sites Mollan v. Torrance. 22 U.S. (9 Wheat) 537. 539. 6 L.Ed. 154

   (1824) which says that jurisdiction "depends upon the state of things at the time

   of the action are brought....". To that end, DeMaurice F. Smith should be a part

   of this suit because 1.) in the District of Columbia, corporate officers are

   responsible for the torts they inspire or participate in - the acts of DeMaurice F.
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 they sit {Erie R. Co. v. Tompkins, 304 U.S. 64, 58 S.Ct. 817, 82 L. Ed.

 1188). Accordingly, federal courts in diversity cases are to apply state common

 law in those broad areas such as contracts, torts, probate, and property {HANNA V.

 Plumer, 380 U.S. 460, 472 (1965). In this case, the Plaintiff resides in Bowie,

 Maryland and the Defendant, the NFLPA is headquartered within the District of

 Columbia establishing diversity jurisdiction. Moreover, the Plaintiff s complaint

 indicated that the acts of the Defendants were all related to common law (i.e.

 breach of contract and torts). The breach of contract dispute is between the

 Plaintiff and the NFLPA, and there is a tort law dispute against DeMaurice

 Smith. Furthermore, in this case, the Plaintiffs “subsequent filings” provided an

 argument to Judge Walton that the NFLPA was in violation of the District of

 Columbia Arbitration Act or DC law (EXHIBIT 36 page 36).

    As it relates to the diversity case between the Plaintiff and the NFLPA, the

 Judge Walton applied the Federal Arbitration Act (EXHIBIT 36 page 36) which

 requires one to file a motion for vacatur within 60 days of the award related to

 fraud. On the other hand, subsequent filings in response to a motion to dismiss

 stated that the NFLPA and DeMaurice Smith’s actions were in violation of section

 16-4423 of the District of Columbia, Chapter 44 Arbitration Revised Uniform

 Act. The District of Columbia, Chapter 44 Arbitration Revised Uniform Act

 states “.. .unless the movant alleges that the award was procured by

                                                                                     10
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 corruption, fraud, or other undue means, in which case the motion shall be made

 within 90 days after the ground is known...The Plaintiff was made aware by

 the American Arbitration Association (AAA) that his appeal hearing did not use

 AAA rules on March of 2019 (Exhibit AAA). The Plaintiffs initial complaint was

 filed on April 2, 2019, and amended in May 2019.

    Insomuch as Judge Walton received a “subsequent filed” motions in response to

 a motion to dismiss from the Appellant stating that the NFLPA was in violation of

 section 16-4423 of the District of Columbia, Chapter 44 Arbitration Revised

 Uniform Act, Judge Walton provided a ruling using the Federal Arbitration Act,

 contrary to Klaxon Co v. Stentor Manufacturing Co., 313 U.S. 487 (1941) which

 requires federal courts to apply state court common law decisions in diversity

 cases. To that end. Judge Walton’s choice to use the Federal Arbitration Act (FAA)

 as the law to determine the outcome of this case instead of the District of

 Columbia, Chapter 44 Arbitration Revised Uniform Act, was contrary to the

 precedent established by Ms. Carty in Carty v. CVS Pharmacy, LLC, 264

 F.Supp.3d 190 (2017).




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 (e.). Judge Walton’s ruling did not allow the Appellant to amend his eomplaint aecording

 to the liberal amendment policy of Rule 15 of the Rules of Federal Civil Procedure.


 Upon receiving the May 5, 2021, Appeal Court ruling (EXHIBIT 2 page 1-2),

 Judge Walton held a meeting with all parties involved in the Complaint on

 November 2021 (Exhibit 2 page 6-7), During said meeting, the Appellant stated

 that he was arguing only DC law claims. Furthermore, during said meeting, the

 Appellant specifically informed Judge Walton that the Appellant was not arguing

 the FAA; and stated that Appellant’s subsequent filings argued the DC Arbitration

 Act (under the FAA heading). The Appellant submitted on January 2022, a

 Motion to amend the Complaint according to Rules of Federal Civil Procedure 15

 requesting Judge Walton to rule only on the DC law claims related to the NFLPA

 and DeMaurice Smith. After two years from receiving the Appeal Court’s March

 5, 2021, Order to reconsider the Appellant’s DC law claims. Judge Walton’s

 February 24, 2023, ruling denied the Appellant’s Complaint Amendment according

 to Rules of Federal Civil Procedure 15. Additionally, the Appellant’s DC law

 claims were not reconsidered per the United States Court of Appeals for the

 District of Columbia Circuit (Appeals Court) March 5, 2021, court Order related to

 the NFLPA and DeMaurice Smith claims (EXHIBIT 2 page l-2)(Exhibit

 DS)(Exhibit 4 NFLPA).




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       On the other hand, as stated in Carty v. CVS Pharmacy, LLC, 264 F.Supp.3d

 190 (2017), a pro se plaintiffs pleadings are to be considered in toto, considering

 all her allegations, including those filed in opposition to Defendants-Appellees

 Motion to Dismiss. See Brown v. Whole Foods Market Grp., Inc., 789 F.3d 146,

 151-52 (D.C. Cir. 2015), Richardson v. United States, 193 F.3d 545, 548 (D.C.

 Cir. 1999). That said, on page 36 of the Appellant’s opposition to the Defendants-

 Appellees Motion to Dismiss, the Plaintiff-Appellant’s subsequent filings argued

 the DC Arbitration act (EXHIBIT 36 page 36). That said, if the Court considered

 all the Appellant’s subsequent filings and the allegations broadly for a pro se

 plaintiff, the Appellant’s DC Abirritation Act claim, which was made a part of

 subsequent filings in opposition to the Defendant-Appellees Motion to Dismiss,

 must be considered for a pro se plaintiff according to Carty v. CVS Pharmacy,

 LLC, 264 F.Supp.3d 190 (2017) (EXHIBIT 36 page 36) (EXHIBIT DS).

       In conclusion. Judge Walton’s February 24, 2023, ruling should be reversed

 because 1.) the Appellant’s subsequent filings in opposition to the NFLPA and

DeMaurice Smith’s attorneys Motion to Dismiss were not considered under the

lens of a pro se; 2.) the ruling violates the Federal Rule of Evidence 801(d)(2)(c.);

3.) the ruling disregards the U.S. Court of Appeal for the District of Columbia

Circuit March 5, 2021, ruling; and (4.) the ruling did not apply the right rule of

consideration for a breach of contract related to a diversity jurisdiction case.

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 For the forgoing reasons, the Plaintiff respectfully requests that Judge Walton’s

 decision be reversed.




 Dated: June 20, 2023                  Respectfully Submitted,




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